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                      IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF OREGON



  UNITED STATES OF AMERICA,                          Case No. 3:07-cr-00403-SI-16

                                   Plaintiff,        ORDER GRANTING MOTION TO
                                                     REDUCE SENTENCE
                      v.

  ADEMIR HERNANDEZ-ARCIGA,

                                Defendant.

SIMON, District Judge:

       This matter is before the Court on the defendant’s motion to reduce sentence pursuant to

18 U.S.C. § 3582(c)(1)(A)(i). Based on the filings to date and the agreement of the parties, and

after full consideration of the relevant factors under 18 U.S.C. § 3553(a), the Court finds that

extraordinary and compelling reasons warrant a reduction of defendant’s sentence to time served,

effective seven (7) days after the entry of an amended judgment. The Court concludes that the

defendant’s release pursuant to this order will not pose a danger to any other person or the

community.

       The Court therefore GRANTS the Motion to Reduce Sentence (ECF 814).



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       IT IS HEREBY ORDERED that an amended judgment and commitment order shall be

prepared and entered forthwith amending the term of imprisonment on all counts to time served,

effective seven (7) days after the entry of the amended judgment.

       Dated this ______
                   14th day of September, 2022.



                                            Honorable Michael H. Simon
                                            United States District Judge




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